     Case: 1:19-cr-00664 Document #: 38 Filed: 03/25/22 Page 1 of 18 PageID #:387




                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA                )
                                        )       No. 19 CR 664
              vs.                       )
                                        )       Judge Charles R. Norgle
TUQIANG XIE                             )

               GOVERNMENT’S SENTENCING MEMORANDUM

       On August 20, 2019, the United States filed an information against defendant

Tuqiang Xie. The information charged Xie with engaging in brokering activities

involving military equipment with the People’s Republic of China without

registration or a license in violation of Title 22, United States Code, Section 2778(c)

and applicable regulations (Count One). The information also charged Xie with filing

a false income tax return for calendar year 2013 in violation of Title 26, United States

Code, Section 7206(1) (Count Two). On September 10, 2019, Xie pled guilty to both

charges pursuant to a written plea agreement. Xie is scheduled to be sentenced on

March 30, 2022. The government requests that this Court impose a sentence of one

year and one day based on Xie’s offenses.

I.     BACKGROUND

       The Arms Export Control Act (“AECA”), Title 22, United States Code, Section

2778, et seq., regulates the export of articles used in military defense from the United

States to other countries. The AECA authorizes the President of the United States

to, among other things, designate certain defense articles on what is known as the


                                            1
   Case: 1:19-cr-00664 Document #: 38 Filed: 03/25/22 Page 2 of 18 PageID #:388




United States Munitions List (“USML”) and to thereafter require licenses or other

approvals before defense articles on the USML can be exported. Generally, except as

specifically provided in AECA-based regulations, “no defense articles . . . may be

exported or imported without a license for such export or import. See 22 U.S.C.

2778(b)(2).

      The strict controls imposed by the AECA are necessary because of the nature

of the items involved. The items on the USML are components and systems used

currently by the United States armed forces in military equipment. The technical

information about the USML components, as well as the distribution of the actual

components to outside sources, is highly regulated as a result. The regulations

associated with the AECA require that, in addition to obtaining licenses, individuals

involved in the businesses of manufacturing or exporting defense articles register

with the United States Department of State, Directorate of Defense Trade Controls

(DDTC).

      The responsibility for regulating the export and import of defense articles is

split between two federal agencies. The DDTC regulates the export of defense articles

outside the United States. The Bureau of Alcohol, Tobacco, Firearms and Explosives

(“ATF”) is responsible for regulating the importation into the United States of defense

articles. The defense articles governed by ATF are on an import-based list known as

the United States Munitions Import List (USMIL).




                                          2
   Case: 1:19-cr-00664 Document #: 38 Filed: 03/25/22 Page 3 of 18 PageID #:389




      In 1989, the United States imposed an arms embargo on the People’s Republic

of China (“PRC”). This meant that the ATF considered the PRC to be a “prohibited

country” for purposes of arms imports. Similarly, for exports, the embargo prohibited

the export of arms, such as USML-listed defense articles, to the PRC. The arms

embargo with the PRC was in place during the relevant period of this case.

      Xie, through his company, Bio-Medical Optics, LLC in Irvine, California,

served as a broker for the shipment of defense articles on the USML to and from the

PRC. “Defense articles” includes both military components as well as the

corresponding technical data to build them. Xie located manufacturers in the PRC to

produce defense articles for United States clients. Xie earned commissions or fees

based on his role in these shipments. Xie never registered with the DDTC and he

never applied for an export or import license. Xie made shipments to and received

shipments from the PRC despite the existence of the arms embargo.

      One of Xie’s clients was an entity called Vibgyor Optical Systems, Inc.

Vibgyor’s owner, Bharat (“Victor”) Verma, operated Vibgyor out of his Arlington

Heights, Illinois house. Vibgyor’s daughter, Urvashi (“Sonia”) Verma, was also

involved in the business. Vibgyor purported to manufacture optical lenses and

equipment and largely served as a subcontractor on Department of Defense contracts.

This meant that another company, known as a “prime contractor,” was awarded a

contract by the Department of Defense to supply the DOD with military components.

The prime contractor, in turn, could arrange for another company like Vibgyor to


                                         3
   Case: 1:19-cr-00664 Document #: 38 Filed: 03/25/22 Page 4 of 18 PageID #:390




manufacture the parts. Vibgyor then became a subcontractor to the prime contractor.

But here, unbeknownst to the prime contractors, but as fully known by Xie, Vibgyor

did not itself manufacture the required parts. Vibgyor instead, either on its own or

through Xie, sent the parts to the PRC to be manufactured there. Xie then imported

the parts and sent them to Vibgyor. Vibgyor sent the parts to the prime contractor

for delivery to the DOD. Neither the prime contractor nor the DOD knew the parts

had been manufactured in the PRC. Vibgyor used the PRC to manufacture the

military parts because it cost less to manufacture the parts there and Vibgyor made

more profit as a result.

      Xie also did business with one of Bharat Verma’s family members, Individual

A, who operated as a prime contractor known as Defense Contractor A. Individual A

arranged for Vibgyor to serve as the subcontractor on Defense Contractor A’s DOD

contracts and Xie assisted in these transactions. Xie also facilitated shipments of

defense articles to and from the PRC for Broker B. Broker B transferred the PRC-

made defense articles to Vibgyor after receiving them from Xie.

      Xie and Vibgyor had a longstanding relationship which spanned from 2006 to

2014. Xie’s relationship with Broker B extended into 2015. In approximately

November 2006, Bharat Verma asked Xie about obtaining optical components from

one of Xie’s contacts in the PRC. On November 29, 2006, Xie sent Verma an email

outlining the types of optical components Xie could acquire. The email described Bio-

Medical as having a manufacturing facility in the PRC’s Hubei province. A short time


                                         4
   Case: 1:19-cr-00664 Document #: 38 Filed: 03/25/22 Page 5 of 18 PageID #:391




later, Vibgyor began to order items, largely military optical technology, from Bio-

Medical. From the beginning, Xie, acting as a broker, sent USML defense articles,

consisting of both military components to be used as samples and technical data,

including drawings, for the components, to manufacturing facilities in the PRC. Xie

knew early on that federal agents had seized incoming shipments from the PRC to

Vibgyor and that Bharat Verma wanted to use Xie’s company, Bio-Medical, as the

purported importer in order to prevent future seizures. This maneuvering meant that

it was not possible for a period of time, from Customs documentation alone, for law

enforcement to determine that Vibgyor was, in fact, the end customer for the PRC-

manufactured defense articles. Xie also misidentified the articles in the shipments

and their cost on the Customs documentation at Vibgyor’s request to further evade

Customs scrutiny.

      In 2008, federal agents learned that Xie was involved in the shipments from

the PRC to Vibgyor. Xie thereafter, between 2008 and 2015, had numerous

interactions with federal agents. The agents told Xie about export and import

regulations and the need to obtain export licenses. The agents drew Xie’s attention to

the DOD notations on the technical data from Vibgyor that Xie sent to the PRC. Yet

Xie did not change his ways. Xie continued to do business with Vibgyor, as well as

with Individual A and Broker B, during the time period of the interactions.

      In approximately July 2014, Broker B asked Xie to quote a price for a quantity

of eyepiece assemblies. The transaction that followed serves as the basis of the AECA


                                          5
   Case: 1:19-cr-00664 Document #: 38 Filed: 03/25/22 Page 6 of 18 PageID #:392




charge in Count One to which Xie pled guilty. The eyepiece assemblies, known for

DOD purposes as National Stock Number 1240-01-063-1352, were part of the thermal

sighting systems in M60A3 battle tanks. The eyepiece assemblies were on the USML.

On or about August 4, 2014, Xie agreed to get Broker B 25 of the eyepiece assemblies

from a PRC manufacturer. Between August 2014 and mid-February 2015, Xie

brokered the importation of the PRC-made completed eyepiece assemblies into the

United States. Xie sent the eyepiece assemblies to Broker B once they arrived. Xie

knew that the eyepiece assemblies were on the USML at the time he made the

arrangements for the eyepiece assemblies to be made in the PRC and for the

completed eyepiece assemblies to be imported into the United States. Xie did not

obtain licenses for the shipments and he did not register as a broker in connection

with them.

      Over the years, Vibgyor, Defense Contractor A, and Broker B paid Xie for the

services Xie provided to them. Between approximately 2007 and 2014, Xie and Bio-

Medical received payments totaling nearly $800,000 for Xie’s brokering services. Bio-

Medical made payments to Chinese manufacturers totaling nearly $600,000 for the

items manufactured there. Xie and Bio-Medical, then, made a profit of approximately

$200,000 through the unlawful sending of defense articles to the PRC, at least some

of which were USML-listed, and the unlawful importation of the manufactured parts

into the United States.




                                         6
      Case: 1:19-cr-00664 Document #: 38 Filed: 03/25/22 Page 7 of 18 PageID #:393




        Xie underreported his income to the Internal Revenue Service on his federal

income tax returns during the period of this case, that is, on the federal income tax

returns he filed between 2009 and 2013. This false reporting had the effect of lowering

the amount of taxes Xie had to pay. Xie’s false income tax return for calendar year

2013 serves as the basis of Count Two to which Xie pled guilty. Xie misrepresented

on the 2013 return that the amount of Bio-Medical’s gross receipts and sales was

$568,463 when, in fact, the amount was $785,085. This created a tax loss of $3,640.

The combined tax loss for Xie’s underreporting between 2009 and 2013 is between

$100,000 and $250,000. Xie succeeded in underreporting Bio-Medical’s gross receipts

for so many years by maintaining two sets of books—one true set and one false set.

Xie gave his tax preparer the false set of books that underreported the income he

received and that omitted entire sales transactions. The tax preparer relied on the

false set of books to prepare Xie’s income tax returns. Xie swore to, signed, and caused

to be filed the 2013 income tax return which Xie knew to be false.

II.     GUIDELINES CALCULATIONS

        The government agrees with the Guidelines calculations found in the

Presentence Investigation Report. PSR ¶¶ 23-51.

        A.     Base Offense Level.

        The government agrees that, for Count One (AECA violation) the base offense

level is 26 under USSG § 2M5.2. The government agrees that, for Count Two (the

false return count), the base offense level is 16 under USSG §§ 2T1.1 and 2T4.1


                                           7
       Case: 1:19-cr-00664 Document #: 38 Filed: 03/25/22 Page 8 of 18 PageID #:394




because the tax loss for the instant offense ($3,640) and the relevant conduct is at

least $100,000 but not greater than $250,000. PSR ¶ 30. None of the specific offense

characteristics for either offense apply in Xie’s case. The government agrees that the

combined adjusted offense level is 26. ¶ 39.

         B.     Reduction for Acceptance of Responsibility.

         The government agrees that, at this time, Xie has accepted responsibility for

his offense and that Xie is entitled to a three-level reduction pursuant to Guideline

§§ 3E1.1(a) and 3E1.1(b). PSR ¶¶ 41-42.

         C.     Criminal History Calculation.

         The government agrees that Xie has zero criminal history points and a

criminal history category of I. PSR ¶¶46-51.

         D.     Adjusted Offense Level and Advisory Guidelines Range.

         The government agrees that Xie has an adjusted offense level of 23 (PSR ¶ 43),

a criminal history category of I (PSR ¶ 48), and an advisory Sentencing Guidelines

range of 46 to 57 months’ incarceration (PSR ¶ 78).

III.     SENTENCING FACTORS UNDER 18 U.S.C. § 3553(a)

         A.     Nature and Circumstances of the Offenses.

         In March 2011, during an interview with federal agents, Xie stated that

Vibgyor provided him with original DOD technical data and that, over the years, he

had sent several hundred technical drawings to the PRC on Vibgyor’s behalf. Xie

stated he sent samples, meaning actual component parts, with the technical data


                                            8
   Case: 1:19-cr-00664 Document #: 38 Filed: 03/25/22 Page 9 of 18 PageID #:395




about 10% of the time. Xie continued to send technical data and samples to the PRC

for at least three years after this interview took place.

      Xie’s conduct over multiple years caused a massive volume of sensitive

technical data—the blueprints for manufacturing equipment in current use by the

United States military—to be released to a country to which the United States had

prohibited any such shipments from taking place. Xie violated every layer of

protection imposed by the relevant statutes, regulations, rules, and the arms embargo

through his conduct. Xie repeatedly jeopardized the security of the sensitive military

information without the DOD knowing the information had been released. Some of

the component parts manufactured in the PRC, once placed into United States

military equipment failed, or did not work at all. These failures could have had

significant consequences if the failures occurred in battle.

      There is no evidence in this case, as Xie points out, that Xie had any intent to

enable the Chinese government, or any other foreign party, to possess or develop

military items for its own use. R. 32 at 7. But this absence of intent does not negate

the seriousness of Xie’s crime. Xie did nothing to prevent the Chinese government or

another foreign party from obtaining the technical data or sample parts and his

actions made such an event entirely possible. Xie’s release of the sensitive military

information to Chinese manufacturers, without any restriction whatsoever, was the

equivalent of releasing the sensitive military information to the world.




                                           9
    Case: 1:19-cr-00664 Document #: 38 Filed: 03/25/22 Page 10 of 18 PageID #:396




       Xie posits that the information Xie obtained from Vibgyor and that Xie then

released to the PRC was not “of such great sophistication that its disclosure to China

would seriously jeopardize United States military secrets or give China greater

technological or tactical advantage over the United States.” Id. at 8 (internal

quotations omitted). But this conclusion, to the extent it is accurate, relies on the

benefit of analytical hindsight and, for Xie, given the lack of regard he gave the

information, pure luck. Between 2006 and 2014, when Xie released the technical data

and samples to the PRC, Xie did not determine the level of sophistication of the

information or even the function of the defense articles before he sent the technical

data and samples to the PRC. If, indeed, Xie’s disclosures to the PRC can all be

characterized as not involving “sophisticated” equipment, a point the government

does not accept, then this is attributable to happenstance and not any care or caution

on Xie’s behalf. It is ironic that Xie now seeks to be the beneficiary of a

“sophistication” assessment that he himself did not care to make at the time. It is also

worth noting that the embargo prohibiting the export of information did not

distinguish between the sophistication of the information involved.1

       Xie used misrepresentations and concealment in both of the offenses to which

he pled guilty. Xie agreed to use his company to shield Vibgyor’s role in the PRC


1The government recognizes that a court can consider the nature of the defense articles at
the core of an export control violation in determining a defendant’s sentence. The government
does not mean to suggest otherwise. Here, while some of the defense articles Xie facilitated
being manufactured in the PRC may have been small in size or generic in function, not all of
them can be so classified. The eyepiece assembly that is the subject of Count One, for
example, was critical to the function of military tanks.
                                             10
   Case: 1:19-cr-00664 Document #: 38 Filed: 03/25/22 Page 11 of 18 PageID #:397




process and to prevent Customs from seizing shipments by providing innocuous and

misleading descriptions of the contents on Customs documentation. Xie also hid the

true amount of money he earned through his participation with Vibgyor, Defense

Contractor A, and Broker B by maintaining two sets of books and by providing his

tax preparer with only the false set of books when it came time to compute the amount

Xie owed in taxes.

      B.     History and Characteristics of the Defendant.

      Xie was between 44 and 52 years old during the time frame of his offenses

(2006 to 2014). Xie was well-educated, an educator himself, and a self-employed

businessman. Xie was not new to the world of optics or exports and imports when he

and Vibgyor entered into the business arrangement. Xie advertised on the Bio-

Medical webpage, for example, that the company had manufacturing facilities in

China.

      Xie was repeatedly warned by federal agents that he might be in violation of

federal law by exporting and importing defense articles on Vibgyor’s behalf. The

agents told Xie about registration requirements, the USML, and export and import

licenses. Xie did not heed what he was told and chose instead to continue his

affiliation with Vibgyor, Defense Contractor A, and Broker B, and to conduct business

in what was to them the usual way. A federal agent first talked to Xie about export

and import regulations in July 2008. Federal agents then interviewed Xie in

November 2008, March 2011, May 2011, and February 2015. The agents discussed


                                         11
   Case: 1:19-cr-00664 Document #: 38 Filed: 03/25/22 Page 12 of 18 PageID #:398




with Xie the Vibgyor shipments to the PRC during each of these interviews. Federal

agents twice searched Xie’s residence pursuant to search warrants, in May 2011 and

February 2015, and, in February 2011, seized a laptop computer in Xie’s possession

at the Los Angeles International Airport just before Xie boarded a flight to Shanghai,

China. The agents repeatedly informed Xie that he was not permitted to export

technical data for items contained on the USML without first obtaining a license. Xie

chose instead to never register and to never obtain a license. Instead, Xie continued

to send technical data and samples for USML items to the PRC and he continued to

import the completed items through Bio-Medical on Vibgyor’s behalf.

      Xie’s current age, 60 years old, while on the older end of the ages of current

federal inmates, is not itself remarkable. This is particularly so here because Xie did

not commit the charged offenses until he was between 44 and 52 years old. Xie would

not be the only 60-year-old in the Bureau of Prisons if he is given a sentence of

imprisonment. The current figures reflect that approximately 5.5% of the inmates in

the   Bureau    of   Prisons   are   between    the   ages   of   56   and   60.   See

https://www.bop.gov/about/statistics/statistics inmate age.jsp. There is no indication

that Xie’s medical conditions, high blood pressure and high cholesterol, cannot be

controlled with medication. The long-term significance of the shadow on Xie’s lungs

is unclear. The COVID concerns have been mitigated by the fact that Xie has had

COVID-19 and he has been vaccinated. There is nothing in Xie’s available medical




                                          12
   Case: 1:19-cr-00664 Document #: 38 Filed: 03/25/22 Page 13 of 18 PageID #:399




history that suggests Xie cannot withstand the government’s recommended term of

imprisonment of one year and one day.

      C.     The Need to Avoid Unwarranted Sentencing Disparities.

      In 2015, Vibgyor, Bharat Verma, and Verma’s daughter, Urvashi Verma, were

indicted. See Case No. 15 CR 18 (N.D. Ill) (Bucklo, J.). Vibgyor and Bharat Verma

pled guilty. Urvashi Verma went to trial and was convicted of conspiracy to violate

the AECA and acquitted of a substantive AECA charge. Bharat Verma’s sentencing

range was 78 to 97 months. The government recommended 60 months which

represented a 25% reduction from the low end of the range. Bharat Verma received a

sentence of 8 months incarceration. Urvashi Verma’s sentencing range was 26 and

her range was 63 to 78 months. The government recommended that Urvashi Verma

receive a sentence of 30 months which represented a 50% reduction from the low end

of the range. Urvashi Verma received a sentence of four years’ probation.

      Xie’s sentencing range, which, like the ranges for Bharat and Urvashi Verma,

is driven by the AECA offense, is 46 to 57 months. The government recommends that

Xie receive a sentence of imprisonment of one year and one day in order to avoid

disparity between his sentence and those received by the Bharat and Urvashi Verma.

A sentence of incarceration is appropriate. Xie’s conduct is much more aligned with

that of Bharat Verma than that of Bharat Verma’s daughter. Xie and Bharat Verma

worked in tandem for years to make the shipments to and from the PRC happen and

to proceed undetected. Xie made significant profits from his affiliation with Vibgyor


                                         13
   Case: 1:19-cr-00664 Document #: 38 Filed: 03/25/22 Page 14 of 18 PageID #:400




and the related entities and Xie was undeterred by the repeated warnings by agents

about the potential illegality of his conduct. Xie is much less similar to Urvashi

Verma, who got involved with Vibgyor through her father. Xie, in contrast, ran his

own independent company at the time Xie affiliated himself with Vibgyor and Xie

chose to begin the affiliation and to continue with it for years.

      D.     The Need to Afford Adequate Deterrence.

      There is a need here for both specific and general deterrence. Xie was not

deterred by the repeated warnings by federal agents about his conduct and a sentence

of imprisonment will provide specific deterrence to him in this case. General

deterrence is also necessary so that the message is clear to the public that there are

consequences to exporting USML data and samples to an embargoed country and

that the export and import statutes and regulations as to defense articles cannot be

ignored.

IV.   SUPERVISED RELEASE

      The government has no objections to the conditions of supervised release

proposed by the Probation Office. In United States v. Thompson, 777 F.3d 368 (7th

Cir. 2015), the Seventh Circuit held that sentencing courts must make an

independent determination that each condition of supervised release imposed on a

defendant is rationally and reasonably related to the offense conduct and

characteristics, and to the sentencing purposes identified by 18 U.S.C. §§ 3583(c) and

3553(a)(1), (a)(2)(C), and (a)(2)(D). 2015 WL 151609 at *6-7. This Court must state


                                           14
   Case: 1:19-cr-00664 Document #: 38 Filed: 03/25/22 Page 15 of 18 PageID #:401




the reasons for imposing each condition, and ensure each condition is not broader

than necessary to achieve the purposes of sentencing. Id. In light of the Court’s ruling

in Thompson, the government concurs with the Probation Office and asks the Court

to impose the following conditions of supervised release:

      The following conditions are mandatory under 18 U.S.C. § 3583(d):

      1.     The defendant shall not commit another federal, state, or local crime.

      2.     The defendant shall not unlawfully possess a controlled substance.

      3.     The defendant shall submit to the collection of a DNA sample as directed
             by the probation officer.

      Under 18 U.S.C. § 3583(d), the Court has discretion to impose conditions of

supervised release that are “reasonably related” to the factors set forth in 18 U.S.C.

§ 3553(a), that “involve[ ] no greater deprivation of liberty than is reasonably

necessary,” to meet the goals of § 3553(a), and that are “consistent with any pertinent

policy statements issued by the Sentencing Commission.” The following conditions

are consistent with the factors set forth in § 3553(a) and should be imposed on the

basis that they facilitate supervision by the probation officer, which is important

here, to promote Xie’s respect for the law and deter him from future crimes.

      1.     The defendant shall seek, and work conscientiously at, lawful
             employment or, if not employed, shall pursue conscientiously a course of
             study or vocational training that will equip him for employment.

      2.     The defendant shall not knowingly meet or communicate with any
             person whom he knows to be engaged, or planning to be engaged, in
             criminal activity.

      3.     The defendant shall refrain from the excessive use of alcohol.

                                          15
   Case: 1:19-cr-00664 Document #: 38 Filed: 03/25/22 Page 16 of 18 PageID #:402




      4.     The defendant shall not possess a firearm, destructive device, or other
             dangerous weapon.

      5.     The defendant shall not knowingly leave from the judicial district where
             he is being supervised, unless granted permission to leave by the court
             or a probation officer.

      6.     The defendant shall report to a probation officer as directed by the court
             or a probation officer.

      7.     The defendant shall permit a probation officer to visit the defendant at
             any reasonable time at home, work, community service location, or other
             reasonable location specified by a probation officer.

      8.     The defendant shall permit confiscation of any contraband observed in
             plain view of the probation officer.

      9.     The defendant shall notify a probation officer within 72 hours, after
             becoming aware of any change in residence, employer, or workplace and,
             absent constitutional or other legal privilege, answer inquiries by a
             probation officer. The defendant shall answer truthfully any inquiries
             by a probation officer, subject to any constitutional or other legal
             privilege.

      10.    The defendant shall notify a probation officer promptly, within 72 hours,
             if arrested or questioned by a law enforcement officer.

      11.    The defendant shall be surrendered to a duly authorized official of the
             Homeland Security Department for a determination on the issue of
             deportability by the appropriate authority in accordance wit the law
             under the Immigration and Nationality Act and the established
             implementing regulations. If ordered deported, the defendant shall not
             reenter the United States without obtaining, in advance, the express
             written consent of the Attorney General or the Secretary of the
             Department of Homeland Security.

      The government agrees that the following proposed special conditions are

consistent with the factors set forth in § 3563(b)(2) and 3583(d) and should be

imposed on the basis that they facilitate supervision of Xie by the probation officer,




                                          16
   Case: 1:19-cr-00664 Document #: 38 Filed: 03/25/22 Page 17 of 18 PageID #:403




which is important here, to promote Xie’s respect for the law and to deter him from

future crimes.

      1.     The defendant shall not incur new credit card charges or open additional
             lines of credit without the approval of a probation officer unless the
             defendant is in compliance with the financial obligations imposed by the
             judgment order.

      2.     The defendant shall provide a probation officer with access to any
             requested financial information necessary to monitor compliance with
             other conditions of probation.

      3.     Within 72 hours of any significant change in the defendant’s economic
             circumstances that might affect the defendant’s ability to pay
             restitution, fines, or special assessments, the defendant must notify the
             probation officer of the change.

      4.     The defendant shall file accurate income tax returns and pay all taxes,
             interest and penalties as required by law.

      5.     The defendant shall pay to the Clerk of the Court any financial
             obligation ordered by the court that remains unpaid at the
             commencement of the term of supervised release, at a rate of not less
             than 10% of the total of the defendant’s gross earnings minus federal
             and state income tax withholdings.

      6.     The defendant shall not enter into any agreement to act as an informer
             or special agent of a law enforcement agency without the permission of
             the court.

      The government agrees with the PSR that these mandatory, discretionary, and

special conditions are necessary to: (1) afford adequate deterrence; (2) protect the

public from further crimes by Xie; (3) provide Xie with needed medical care in the

most effective manner; (4) keep the probation officer informed about Xie’s conduct,

condition, and compliance; (5) enhance officer and Xie’s safety; (6) allow the probation

officer to targe interventions and factors that may reduce Xie’s risk of reoffending;


                                          17
     Case: 1:19-cr-00664 Document #: 38 Filed: 03/25/22 Page 18 of 18 PageID #:404




and (7) assist Xie to be engaged in responsible fiscal behavior while complying with

the need to pay the Internal Revenue Service taxes and interest owed.

V.      RESTITUTION

        Xie agreed in the plea agreement to pay restitution to the United States

Treasury arising from his offense and relevant conduct. But there is no current actual

tax loss and no restitution owed at this time and, as a result, this Court need not

order restitution.

VI.     FORFEITURE

        Xie agreed in the plea agreement to the entry of a personal money judgment in

the amount of $200,027, which represents the total amount of proceeds traceable to

the offense. Xie consented to the immediate entry of a preliminary order of forfeiture

setting forth the amount of the personal money judgment he will be ordered to pay.

VII.    CONCLUSION

        For the foregoing reasons, the United States respectfully requests this Court

impose a below Guidelines sentence of one year and one day.

                                        JOHN R. LAUSCH, JR.
                                        United States Attorney

                                 By:    /s/ Diane MacArthur
                                        DIANE MacARTHUR
                                        Assistant United States Attorney
                                        219 S. Dearborn Street
                                        Chicago, IL 60604
                                        (312) 353-5352

Dated: March 25, 2022


                                          18
